     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 1 of 20




 1                                 UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                    ***
 4     ANTHONY MITCHELL, et al.,                             Case No. 2:13-cv-01154-APG-CWH
 5                            Plaintiffs,
                                                             ORDER GRANTING IN PART AND
 6           v.                                              DENYING IN PART THE NORTH LAS
                                                             VEGAS DEFENDANTS’ MOTION FOR
 7     CITY OF HENDERSON, NEVADA, et al.,                    SUMMARY JUDGMENT
 8                            Defendants.                    (ECF No. 111)
 9

10           This is a civil rights lawsuit brought by plaintiffs Anthony Mitchell, Linda Mitchell, and

11    Michael Mitchell. The case arises out of a June 2011 incident involving City of Henderson police

12    and the City of North Las Vegas Police Department SWAT team. The Henderson police were

13    called to a domestic violence incident and responded to non-party Phillip White’s house. White

14    was inside the home with his infant child. North Las Vegas Police Department SWAT team

15    members were called to the scene to assist. Officers noticed that residents in nearby houses,

16    specifically the plaintiffs’ homes, were photographing the police and were believed to be

17    communicating with White about the police activity. The officers eventually forced their way

18    into Anthony Mitchell’s home, shot him with pepperball rounds, and arrested him. They also

19    allegedly unlawfully entered Michael and Linda Mitchell’s home, removed Linda from the home,

20    searched their car without a warrant, and arrested Michael without probable cause, among other

21    alleged violations.

22           The plaintiffs settled their claims with the City of Henderson defendants. ECF No. 108.

23    Thus, the only remaining claims are against the City of North Las Vegas and its employees,

24    Michael Waller, Drew Albers, David Cawthorn, Eric Rockwell, and Travis Snyder (collectively,

25    the NLVPD defendants). The NLVPD defendants move for summary judgment on Anthony’s

26    claims against them. I grant the motion as to Anthony’s claims for municipal liability and

27    negligent hiring, training, and supervision, and I deny the rest of the motion. I also direct the

28
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 2 of 20




 1    parties to meet and confer about what, if any, claims that are not addressed in the summary

 2    judgment briefing remain pending.

 3    I. BACKGROUND

 4           At approximately 7:30 a.m. on July 10, 2011, Phillip White had an argument with his wife

 5    Sussette. ECF No. 119-1 at 7. According to White, his wife pushed him, ran out of the house, and

 6    called the police. Id. at 7-8, 14. Sussette told the police that White hit her,1 but she also told the

 7    police she did not believe White would harm their daughter. ECF Nos. 119-3 at 22; 119-2 at 5.

 8           City of Henderson police officers arrived at the Whites’ home at 363 Eveningside Avenue

 9    in Henderson. ECF Nos. 111-4 at 12; 119-1 at 5, 7. White answered the door and invited the

10    officers inside but told them he would not come outside and leave his one-month-old daughter

11    alone. ECF No. 119-1 at 7-8. White had a 3-inch pocketknife clipped to his pocket. Id. at 13.

12    According to White, the officers did not tell him why they were there, but he assumed his wife

13    had called them. Id. at 11. The police officers did not enter the house and walked away. Id.

14           White left the front door open, with the screen door closed, for approximately 45 minutes,

15    but the officers did not accept his invitation to enter the house. Id. at 7-8. He sat on the couch

16    with his daughter nearby until he closed the door when he needed to use the bathroom. Id. at 9.

17    He then laid down and fell asleep without reopening the front door. Id. at 9, 11.

18           The plaintiffs in this case are White’s neighbors. Plaintiff Anthony Mitchell lived at 367

19    Eveningside. ECF No. 111-4 at 12. His parents, Michael and Linda Mitchell, lived at 362

20    Eveningside. Id.

21           Anthony woke up that morning to sirens in his neighborhood. Id. He checked his phone

22    and saw that he had missed a call from his father, so he called him back. Id. Michael told

23    Anthony that he had spoken with White. Id. Michael advised Anthony that White had invited the

24    police inside but that the police wanted White to leave the baby inside the house and come out,

25    but White was not going to do that. Id. at 13.

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             1
                 White denies striking his wife. ECF No. 119-1 at 14.
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                                                     Page 2 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 3 of 20




 1            Anthony then went to his front door, opened it, and yelled at the officers to turn off their

 2    siren. Id. The officers shut off the siren. Id. Anthony then took a shower and exercised inside his

 3    house. Id. at 13-14. Some time later, he looked out his kitchen and garage windows to see if the

 4    police were still there. Id. at 14. They were, and Anthony began taking pictures of the officers on

 5    his cell phone. Id. Anthony saw Henderson police officers aim a rifle at his parents’ house. Id. at

 6    15. He spoke to his father on the phone, and Michael stated that an officer had pointed a rifle at

 7    him twice while Michael was taking photos of them. Id.

 8            At approximately 10:10 a.m., NLVPD SWAT was called to assist the Henderson police.

 9    ECF No. 111-2 at 2. Defendants Michael Waller, David Cawthorn, Drew Albers, Eric Rockwell,

10    and Travis Snyder were NLVPD officers that responded to the scene. ECF Nos. 111-2 at 2; 111-3

11    at 2; 119-5 at 7.

12            When NLVPD SWAT arrived, Lieutenant Cassell of the Henderson Police Department

13    informed non-party NLVPD SWAT lieutenant Anthony DiMauro that they were responding to a

14    domestic violence incident that “went south.” ECF No. 111-3 at 2. Cassell also told DiMauro that

15    White had weapons, was with his four-week-old baby inside his home, was refusing to come out,

16    and had said that the police would have to come into the house and get him. ECF Nos. 111-2 at 2;

17    111-3 at 2. Additionally, Cassell told DiMauro that the occupants of 362 Eveningside (Michael

18    and Linda Mitchell) were communicating with White and possibly providing him with tactical

19    information about the police officers’ locations and movements.2 ECF Nos. 111-2 at 2; 111-3 at

20    2. The command post advised NLVPD SWAT that the occupants of 362 and 367 Eveningside

21    were related. ECF No. 111-2 at 3.

22            Albers noticed someone inside the garage of 367 Eveningside (Anthony Mitchell) who

23    was taking pictures or video of the police. Id. at 2. According to Cawthorn, the window was

24    covered with a sunshade with a large square cut out of the middle. Id. Cawthorn characterized

25    this window as a “sniper blind” because it allows the person behind the window to observe

26
              2
                 Anthony spoke with White once or twice that morning while the police were outside their homes.
27    ECF No. 111-4 at 18. Anthony told White that Anthony had contacted the media and that SWAT was
      there. Id. Anthony denies that he told White how many officers were outside. Id. at 16.
28


                                                   Page 3 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 4 of 20




 1    activities outside the window while limiting observation of the person behind it. Id. at 2-3.

 2    Anthony describes the window as the border being covered by four pieces of reflective material

 3    on the top, bottom, and two sides, leaving a two by two foot opening in the middle. ECF No. 111-

 4    4 at 50.

 5               According to Cawthorn, Albers ordered Anthony to move away from the window, but

 6    Anthony refused and extended his middle finger at Albers. ECF Nos. 111-2 at 3; 111-4 at 23.

 7    Anthony admits he made the middle finger gesture at the officers, but he denies that he heard any

 8    commands because the officers were located 40 to 60 feet away from his house. ECF No. 111-4 at

 9    23, 26. Anthony continued to photograph and film the officers. ECF No. 111-2 at 2. According

10    to Anthony, NLVPD SWAT officers were pointing rifles at him as he was taking pictures. ECF

11    No. 111-4 at 16.

12               At some point, the police called Anthony and asked him if they could use his home for a

13    better tactical advantage against White. Id. at 21. Anthony refused the request. Id. He then

14    decided to put on a Kevlar vest and returned to his garage window to continue taking pictures. Id.

15    at 16, 27. He also contacted the media about the situation. Id. at 18.

16               According to Cawthorn, Anthony’s actions were a safety issue for the officers and divided

17    their attention between White’s residence and Anthony’s. ECF No. 111-2 at 3. The officers

18    therefore decided to attempt to contact Anthony. Id. The officers “plan[ned] to ask [Anthony] to

19    leave and arrest him if he refused.” Id.

20               Around noon, Albers, Snyder, Rockwell, and Cawthorn walked towards Anthony’s front

21    door. ECF Nos. 111-2 at 3; 119-2 at 11. According to Cawthorn, Albers saw Anthony through

22    the garage window and ordered him to go to the front door. ECF No. 111-2 at 3. Anthony denies

23    that any officer told him to go to the front door. ECF No. 111-4 at 56. The officers knocked on

24    the front door but there was no response. ECF No. 111-2 at 3-4. Snyder twice stated “open the

25    door,” but there was no response. Id. at 4.

26               At that point, Rockwell forced the front door open using a metal ram. ECF No. 111-2 at 4.

27    Anthony was in the living room area and talking on a cell phone with his mother. ECF Nos. 111-2

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                                                    Page 4 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 5 of 20




 1    at 4; 111-4 at 17. The parties differ regarding what happened after the officers forced the door

 2    open.

 3            According to Cawthorn, Snyder ordered Anthony to get on the ground, but Anthony did

 4    not do so and instead kept talking on his cell phone. ECF No. 111-2 at 4. Snyder ordered

 5    Anthony to get off the phone and get on the ground. Id. Anthony then got on the ground but

 6    continued to talk on the phone and turned away from the officers so they could not see his hands.

 7    Id. Snyder ordered Anthony to crawl to the front door and drop the phone. Id. Anthony was still

 8    turned away from the officers and did not drop his phone. Id. Cawthorn fired three pepperball

 9    rounds at Anthony, hitting him in the shoulder, buttocks, and lower back. Id. Anthony then

10    dropped his phone, laid on the floor, and put his hands away from his body. Id. Cawthorn placed

11    Anthony into custody and told Anthony that he was under arrest for obstructing a police officer.

12    Id.

13            Anthony, however, testified that after the door was forced open, multiple officers

14    simultaneously gave him orders to get on the ground, get off the phone, and to crawl towards

15    them. ECF No. 111-4 at 17. According to Anthony, within a second or two of the officers

16    ramming his door open and giving him these commands, he was shot with a pepperball under his

17    armpit, which made him drop the phone and collapse to the floor. Id. at 17-18. He heard the

18    officers yelling at him to shut off his phone and crawl to them when he was shot again with

19    pepperball rounds. Id. at 17. Anthony disputes he continued to talk on the phone because he

20    states he did not have the phone in his hand anymore once he was on the ground. Id. at 58.

21    According to Anthony, there was no time to respond to the officers’ commands before he was

22    shot with the pepperballs. Id. at 18. Anthony put his hands over his head and curled up with his

23    back facing the door so that they would not shoot him in the face if they shot him again. Id. at 18.

24            The officers did not shoot at him again, so he got onto his stomach and put his hands

25    behind his back. Id. Two or more officers then forcefully dropped their knees onto his back and

26    handcuffed him. Id. at 27-28. One officer took him outside and pressed his face into the stucco

27    wall while other officers searched his home. Id. at 28. An officer stated to him “You want to flip

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                                                 Page 5 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 6 of 20




 1    us off, huh?” Id. Another officer looked at that officer and said “Shhhh.” Id. Anthony denies he

 2    was told why he was under arrest. Id. at 61.

 3            Cawthorn turned Anthony over to the Henderson Police Department, and Anthony was

 4    booked into the Henderson Detention Center. ECF No. 111-2 at 4. The charges against Anthony

 5    were later dismissed with prejudice. ECF No. 111-4 at 36.3

 6            The plaintiffs filed a twenty-two count first amended complaint (FAC) that included

 7    claims against both the Henderson defendants and the NLVPD Defendants. ECF No. 3. The

 8    federal claims in the FAC were:
              (1) Retaliation in violation of the Free Speech Clause of the First Amendment, against all
 9            defendants;
10            (2) Unlawful arrest of Anthony Mitchell and unlawful search of Anthony’s home and
              vehicle, in violation of the Fourth Amendment, against Doe Officers 1–10, 21–22, 24–30,
11            Sergeant Waller, and Officers Albers, Cawthorn, Rockwell, and Snyder;
              (3) Excessive force against Anthony Mitchell, in violation of the Fourth Amendment,
12            against Doe Officers 1–10, Sergeant Waller, and Officers Albers, Cawthorn, Rockwell,
              and Snyder;
13            (4) Unlawful arrest of Michael Mitchell, in violation of the Fourth Amendment, against
14            Doe Officers 31–35;
              (5) Unlawful arrest of Linda Mitchell, in violation of the Fourth Amendment, against Doe
15            Officers 21–30;
              (6) Unlawful search of Michael Mitchell’s and Linda Mitchell’s home and of Michael’s
16            vehicle, in violation of the Fourth Amendment, against Doe Officers 21–30;
              (7) Unlawful peacetime quartering of soldiers in Michael Mitchell’s and Linda Mitchell’s
17
              home, in violation of the Third Amendment, against Doe Officers 21–30;
18            (8)(a) Unlawful punishment of Anthony, in violation of the Eighth Amendment, against
              Does Officers 1–10, 32, and 55;
19            (8)(b) Unlawful punishment of Michael, in violation of the Eighth Amendment, against
              Doe Officers 21, 31–35;
20            (8)(c) Deliberate indifference to Anthony’s medical needs, in violation of the Eighth
              Amendment, against Doe Officers 36 and 37;
21
              (9) Malicious prosecution, in violation of the First, Fourth, and Fourteenth Amendments,
22            against three Henderson defendants and Cawthorn;

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24            3
                 Because the motion at issue involves only Anthony’s claims against the NLVPD defendants, a
      detailed discussion about what occurred with White, Michael Mitchell, and Linda Mitchell is unnecessary.
25    It suffices to state that Michael and Linda Mitchell generally allege that during this same incident they
      were removed from their home; that officers unlawfully entered, searched, and remained in their home and
26    searched their car and Linda’s purse without a warrant, consent, or exigent circumstances; and that
      Michael was placed under arrest without probable cause. The charges against Michael were later
27    dismissed. The police eventually made forcible entry into White’s home, retrieved the baby, and placed
      White under arrest. The charges against White were later dismissed.
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                                                   Page 6 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 7 of 20



             (10) Municipal liability under Monell, against the City of Henderson and the City of North
 1           Las Vegas;
 2           (11) Conspiracy under 42 U.S.C. § 1985(3), against unspecified defendants; and
             (12) Neglect to prevent conspiracy under 42 U.S.C. § 1986, against unspecified
 3           defendants.

 4    The remaining ten claims were based on Nevada state law:
             (13) Assault, against unspecified defendants;
 5           (14) Battery, against unspecified defendants;
              (15) False arrest and imprisonment, against unspecified defendants;
 6           (16) Intentional infliction of emotional distress, against unspecified defendants;
 7           (17) Negligent infliction of emotional distress, by inference against Doe Officers 1–10,
             Sergeant Waller, and Officers Albers, Cawthorn, Rockwell, and Snyder;
 8           (18) Civil conspiracy, against unspecified defendants;
             (19) Abuse of process, against unspecified defendants;
 9           (20) Malicious prosecution, against unspecified defendants;
             (21) Respondeat superior, against the City of Henderson and City of North Las Vegas; and
10
             (22) Negligent hiring, retention, supervision, and training, against the City of Henderson
11           and City of North Las Vegas.

12           The City of Henderson defendants have settled. I previously dismissed the plaintiffs’

13    claims against defendant NLVPD Chief Joseph Chronister. ECF No. 48 at 18-19. I also

14    dismissed the claims in the FAC for malicious prosecution in counts nine and twenty, the Third

15    Amendment in count seven, § 1985 conspiracy in counts eleven and twelve, negligent infliction

16    of emotional distress in count seventeen, abuse of process in count nineteen, and respondeat

17    superior in count twenty-one. Id. at 26, 31, 33, 36-37.

18           The NLVPD defendants move for summary judgment, identifying the following as the

19    claims remaining against them:
             count two: unlawful arrest of Anthony Mitchell and unlawful search of Anthony’s home
20           and vehicle, in violation of the Fourth Amendment;
             count three: excessive force against Anthony Mitchell;
21           count ten: municipal liability;
             count thirteen: assault;
22
             count fourteen: battery;
23           count fifteen: false arrest and imprisonment;
             count sixteen: intentional infliction of emotional distress;
24           count eighteen: civil conspiracy;
             count twenty-two: negligent hiring, retention, supervision, and training.
25
      ECF No. 111 at 5. In response, the plaintiffs do not dispute that these are Anthony’s remaining
26
      claims against the NLVPD defendants. Neither party explains why counts one and eight are no
27
      longer pending for Anthony (although likely at least some, if not all, of the allegations in count
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                                                  Page 7 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 8 of 20




 1    eight no longer apply because they were directed at Anthony’s post-arrest detention by the

 2    Henderson police). Additionally, the plaintiffs assert in their opposition that because the NLVPD

 3    defendants did not move for summary judgment against Michael and Linda Mitchell, their claims

 4    remain pending. ECF No. 119 at 2. The NLVPD defendants do not respond to this assertion in

 5    their reply.

 6            After the NLVPD defendants moved for summary judgment, the plaintiffs were granted

 7    leave to file a second amended complaint. Although directed to file it, the plaintiffs never did.

 8    See ECF No. 131. Because the parties have briefed the claims in the FAC, I will likewise refer to

 9    the claims in the FAC in resolving this motion.

10            But because there is some confusion about what claims remain pending, I direct the

11    parties to meet and confer, and to file a joint status report on the following: (1) whether the First

12    Amendment retaliation claim in count one remains pending on behalf of Anthony against the

13    NLVPD defendants; (2) whether the Eighth Amendment deliberate indifference claim in count

14    eight remains pending on behalf of Anthony against the NLVPD defendants; and (3) whether any

15    claim remains pending on behalf of Michael or Linda Mitchell against the NLVPD defendants.

16    II. LEGAL STANDARD

17            Summary judgment is appropriate if the pleadings, discovery responses, and affidavits

18    demonstrate “there is no genuine dispute as to any material fact and the movant is entitled to

19    judgment as a matter of law.” Fed. R. Civ. P. 56(a), (c). A fact is material if it “might affect the

20    outcome of the suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

21    (1986). An issue is genuine if “the evidence is such that a reasonable jury could return a verdict

22    for the nonmoving party.” Id.

23            The party seeking summary judgment bears the initial burden of informing the court of the

24    basis for its motion and identifying those portions of the record that demonstrate the absence of a

25    genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The burden then

26    shifts to the non-moving party to set forth specific facts demonstrating there is a genuine issue of

27    material fact for trial. Fairbank v. Wunderman Cato Johnson, 212 F.3d 528, 531 (9th Cir. 2000). I

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                                                  Page 8 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 9 of 20




 1    view the evidence and reasonable inferences in the light most favorable to the non-moving party.

 2    James River Ins. Co. v. Hebert Schenk, P.C., 523 F.3d 915, 920 (9th Cir. 2008).

 3    III. SECTION 1983 CLAIMS

 4           To establish liability under 42 U.S.C. § 1983, a plaintiff must show the violation of a right

 5    secured by the Constitution and laws of the United States, and must show that the deprivation was

 6    committed by a person acting under color of state law. Broam v. Bogan, 320 F.3d 1023, 1028 (9th

 7    Cir. 2003). The NLVPD defendants do not contest that they acted under color of law. Thus, the

 8    dispute centers on whether they violated Anthony’s constitutional rights.

 9           The parties also dispute whether the individual NLVPD defendants are entitled to

10    qualified immunity. To allay the “risk that fear of personal monetary liability and harassing

11    litigation will unduly inhibit officials in the discharge of their duties,” government officials

12    performing discretionary functions may be entitled to qualified immunity for claims made under

13    § 1983. Anderson v. Creighton, 483 U.S. 635, 638 (1987). Qualified immunity protects “all but

14    the plainly incompetent or those who knowingly violate the law.” Malley v. Briggs, 475 U.S. 335,

15    341 (1986). In ruling on a qualified immunity defense, I consider whether the evidence viewed in

16    the light most favorable to the nonmoving party shows the defendant’s conduct violated a

17    constitutional right. Sorrels v. McKee, 290 F.3d 965, 969 (9th Cir. 2002). If the plaintiff has

18    shown the defendant violated a constitutional right, I then must determine whether that right was

19    clearly established. Id.

20            A right is clearly established if “it would be clear to a reasonable officer that his conduct

21    was unlawful in the situation he confronted.” Wilkins v. City of Oakland, 350 F.3d 949, 954 (9th

22    Cir. 2003) (emphasis omitted) (quoting Saucier v. Katz, 533 U.S. 194, 202 (2001)). I make this

23    second inquiry “in light of the specific context of the case, not as a broad general proposition.”

24    Saucier, 533 U.S. at 201. An officer will be entitled to qualified immunity even if he was

25    mistaken in his belief that his conduct was lawful, so long as that belief was reasonable. Wilkins,

26    350 F.3d at 955.

27            A. Fourth Amendment Violations Related to Anthony’s House, Vehicle, and Arrest

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                                                   Page 9 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 10 of 20




 1            Count two asserts the defendants violated Anthony’s Fourth Amendment rights by

 2     unlawfully entering into his house and searching his house and car without consent, a warrant, or

 3     probable cause, and no exigent circumstances existed to dispense with the need to obtain a

 4     warrant. It also alleges the defendants seized and arrested Anthony in his home without a

 5     warrant, probable cause, or exigent circumstances.

 6            The Fourth Amendment protects against “unreasonable searches and seizures.” U.S.

 7     Const. amend. IV. “[S]earches and seizures inside a home without a warrant are presumptively

 8     unreasonable.” Hopkins v. Bonvicino, 573 F.3d 752, 763 (9th Cir. 2009) (quotation omitted).

 9     However, there are two exceptions to the warrant requirement for searches of the home: (1)

10     emergency and (2) exigency. Id.

11            “The emergency exception stems from the police officers’ community caretaking function

12     and allows them to respond to emergency situations that threaten life or limb.” Id. (quotation and

13     internal quotation marks omitted). Under the emergency exception, a “police officer may not

14     enter a home to investigate a medical emergency or other immediate risk to life or limb unless he

15     has reasonable grounds to believe an emergency is at hand and that his immediate attention is

16     required.” Id.

17            Under the exigency exception, police officers may “enter a home without a warrant if they

18     have both probable cause to believe that a crime has been or is being committed and a reasonable

19     belief that their entry is necessary to prevent . . . the destruction of relevant evidence, the escape

20     of the suspect, or some other consequence improperly frustrating legitimate law enforcement

21     efforts.” Id. (quotation omitted). Under this exception, the government bears the burden of

22     showing that (1) “the officer had probable cause to search the house” and (2) “exigent

23     circumstances justified the warrantless intrusion.” Id. at 766-67 (quotation omitted).

24            Viewing the facts in the light most favorable to Anthony, a reasonable jury could find the

25     officers violated his Fourth Amendment rights. They entered his home, and searched and seized

26     him without a warrant. The entry and seizure therefore are presumptively unreasonable.

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                                                   Page 10 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 11 of 20




 1            A reasonable jury could find facts that would not support either an emergency or exigency

 2     exception to overcome that presumption. First, a genuine dispute remains about whether the

 3     officers had reasonable grounds to believe an emergency was at hand that required immediate

 4     entry into Anthony’s home. The NLVPD defendants characterize the situation as a dangerous

 5     “barricade/hostage” situation, but White invited the officers into his home and then left his door

 6     open and remained visible for forty-five minutes. His wife told police he was not a threat to the

 7     child’s safety. Anthony was taking pictures of the officers, but there is no evidence he threatened

 8     them or displayed weapons towards them. And while the officers may have suspected he was

 9     conveying information to White, a reasonable jury could conclude the officers had no information

10     to support that suspicion.

11            A genuine dispute remains about whether there was an emergency at the moment the

12     officers chose to enter Anthony’s house, rather than during the prior four hours the incident had

13     been unfolding. When the officers first arrived at the scene, Sussette was out of White’s home

14     and thus was not in danger. She told the officers White would not harm the child. Even if the

15     officers believed Anthony was distracting them or was conveying information to White, a

16     reasonable jury could conclude that nothing happened in the intervening four hours that would

17     have provoked an emergency response at the time the officers decided to move on Anthony’s

18     home. Indeed, a reasonable jury could find there was ample time for the officers to obtain a

19     warrant before breaking down Anthony’s door and placing him into custody. For similar reasons,

20     a reasonable jury could find there were no exigent circumstances that justified the warrantless

21     intrusion. Further, a genuine dispute remains about whether the police officers had probable

22     cause to believe that Anthony had committed a crime because Anthony denies that he disobeyed

23     officer commands. Nev. Rev. Stat. § 197.190 (obstructing a police officer); see also id. § 197.090

24     (interfering with a public officer “by means of any threat, force or violence” or “knowing[]

25     resist[ance] by force or violence”).

26            The NLVPD defendants are not entitled to qualified immunity. As discussed in my prior

27     order on the motion to dismiss (ECF No. 48) and as set forth above, the law on warrantless entries

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                                                  Page 11 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 12 of 20




 1     into the home, and the exceptions thereto, was clearly established before this incident. I therefore

 2     deny the NLVPD defendants’ motion for summary judgment on this claim.

 3            B. Excessive Force

 4            Count three alleges the NLVPD defendants used excessive force before entering

 5     Anthony’s house when they pointed loaded firearms at him. It also alleges the officers used

 6     excessive force after entering his home when they fired pepperball rounds at him, dropped a knee

 7     into his back while cuffing him, and pressed his face against the stucco wall.

 8            Excessive force in the course of an arrest is analyzed under the Fourth Amendment. Smith

 9     v. City of Hemet, 394 F.3d 689, 700 (9th Cir. 2005) (citing Graham v. Connor, 490 U.S. 386

10     (1989)). In determining the reasonableness of a non-deadly-force seizure, I balance “the nature

11     and quality of the intrusion on the individual’s Fourth Amendment interests against the

12     countervailing government interests at stake.” Miller v. Clark Cnty., 340 F.3d 959, 964 (9th Cir.

13     2003) (quotations omitted). This entails a three-step analysis. Id. First, I assess “the gravity of

14     the particular intrusion on Fourth Amendment interests by evaluating the type and amount of

15     force inflicted.” Id. Second, I assess “the importance of the government interests at stake by

16     evaluating: (1) the severity of the crime at issue, (2) whether the suspect posed an immediate

17     threat to the safety of the officers or others, and (3) whether the suspect was actively resisting

18     arrest or attempting to evade arrest by flight.” Id. Third, I weigh the gravity of the intrusion

19     against the government’s interest to determine whether the amount of force was constitutionally

20     reasonable. Id.

21            The reasonableness inquiry looks at all the relevant objective facts and circumstances that

22     confronted the arresting officers in each particular case, “judged from the perspective of a

23     reasonable officer on the scene, rather than with the 20/20 vision of hindsight.” Drummond ex rel.

24     Drummond v. City of Anaheim, 343 F.3d 1052, 1058 (9th Cir. 2003) (quotation omitted); Smith,

25     394 F.3d at 701. Additionally, the reasonableness analysis must consider the fact that “police

26     officers are often forced to make split-second judgments—in circumstances that are tense,

27     uncertain, and rapidly evolving—about the amount of force that is necessary in a particular

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                                                   Page 12 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 13 of 20




 1     situation.” Drummond, 343 F.3d at 1058 (quotation omitted). Because the reasonableness

 2     balancing test “nearly always requires a jury to sift through disputed factual contentions, and to

 3     draw inferences therefrom,” courts should grant summary judgment in excessive force cases

 4     “sparingly.” Id. at 1056. “This is because police misconduct cases almost always turn on a jury’s

 5     credibility determinations.” Id. However, I may decide reasonableness as a matter of law if, “in

 6     resolving all factual disputes in favor of the plaintiff, the officer’s force was objectively

 7     reasonable under the circumstances.” Jackson v. City of Bremerton, 268 F.3d 646, 651 n.1 (9th

 8     Cir. 2001) (internal quotation omitted).

 9             Genuine disputes remain about whether the NLVPD defendants used excessive force.

10     Viewing the facts in the light most favorable to Anthony, Albers pointed a loaded weapon at

11     Anthony when Anthony was taking pictures of the police activity. Anthony was not suspected of

12     any crime at that time and he did not threaten the officers or display weapons at them. He was

13     not actively resisting arrest or attempting to flee.

14             The officers later forced their way into Anthony’s home and shot Anthony with

15     pepperballs, forcefully dropped knees onto his back, and shoved his face into a stucco wall.

16     Viewing the facts in the light most favorable to Anthony, he posed little to no risk to the officers

17     when they entered through the front door. He was unarmed and the officers did not give him time

18     to respond to multiple simultaneous commands before he was shot with pepperballs. He testified

19     he was lying on his stomach with his arms behind his back when one or more officers dropped

20     their knees onto his back. Additionally, he was restrained and not resisting when his face was

21     pushed into a stucco wall and held there. The crimes that the NLVPD defendants rely on to

22     justify their behavior are misdemeanors. Nev. Rev. Stat. § 197.190 (obstructing a police officer, a

23     misdemeanor); id. § 197.090 (interfering with a public officer, a gross misdemeanor). A

24     reasonable jury could find the level of force outweighed the governmental interests at stake.

25     Further, the officers are not entitled to qualified immunity. See, e.g., Espinosa v. City & Cnty. of

26     S.F., 598 F.3d 528, 537 (9th Cir. 2010); Tekle v. United States, 511 F.3d 839, 845 (9th Cir. 2007);

27     Frunz v. City of Tacoma, 468 F.3d 1141, 1143 (9th Cir. 2006); Robinson v. Solano Cnty., 278

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                                                    Page 13 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 14 of 20




 1     F.3d 1007, 1014 (9th Cir. 2002) (en banc). I therefore deny the NLVPD defendants’ motion on

 2     this claim.

 3            C. Monell Liability

 4            Count ten alleges the constitutional violations were the result of unwritten NLVPD polices

 5     of summarily violating individuals’ constitutional rights as punishment for either not obeying

 6     police orders or for exercising their First Amendment rights in filming police conduct or

 7     expressing their opinion about police conduct; searching homes and ordering citizens to leave

 8     their homes without legal justification; and covering up police misconduct. Anthony also alleges

 9     NLVPD’s chief of police failed to train, supervise, and discipline officers, resulting in the

10     constitutional violations.

11            “Municipalities, their agencies, and their supervisory personnel cannot be held liable

12     under section 1983 on a theory of respondeat superior.” Shaw v. State of Cal. Dep’t of Alcoholic

13     Beverage Control, 788 F.2d 600, 610 (9th Cir. 1986). But these entities may be held liable for

14     “deprivations of constitutional rights resulting from their policies or customs.” Id. Thus, a

15     plaintiff suing a municipality or its agency must establish both a constitutional deprivation and

16     the existence of a municipal custom or policy that caused the deprivation. Munger v. City of

17     Glasgow Police Dep’t, 227 F.3d 1082, 1087 (9th Cir. 2000) (citing Monell v. Dep’t of Soc. Servs.,

18     436 U.S. 658, 690-91 (1978)).

19            “A municipality’s failure to train an employee who has caused a constitutional violation

20     can be the basis for § 1983 liability where the failure to train amounts to deliberate indifference to

21     the rights of persons with whom the employee comes into contact.” Long v. Cnty. of L.A., 442

22     F.3d 1178, 1186 (9th Cir. 2006). A plaintiff making such a claim must show the training program

23     is inadequate and the inadequate training represents municipal policy. Id. However, evidence the

24     municipality failed to train one officer is insufficient to establish a municipality’s deliberate

25     policy. Blankenhorn v. City of Orange, 485 F.3d 463, 484-85 (9th Cir. 2007). Rather, the

26     inadequate training must be widespread. Id.

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                                                   Page 14 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 15 of 20




 1            A plaintiff may prove a municipal policy was the moving force behind a constitutional

 2     violation in three ways: (1) the municipality adopted an express policy; (2) a municipal employee

 3     commits a constitutional violation pursuant to the municipality’s longstanding practice or custom;

 4     or (3) the person causing the violation has final policymaking authority. Webb v. Sloan, 330 F.3d

 5     1158, 1164 (9th Cir. 2003). A pattern of tortious conduct by inadequately trained employees may

 6     show inadequate training is the moving force behind a plaintiff’s injury. Long, 442 F.3d at 1186-

 7     87. Alternatively, a plaintiff may establish failure-to-train even without showing a pattern where

 8     a “violation of federal rights may be a highly predictable consequence of a failure to equip law

 9     enforcement officers with specific tools to handle recurring situations.” Id. (quotation omitted).

10            Anthony does not cite to any evidence of a policy, custom, or practice that was the

11     moving force behind the alleged constitutional violations. Instead, he argues the NLVPD

12     defendants were trained at the same academy as the Henderson police officers, and the Henderson

13     Police Department enacted policy changes in response to this incident. He argues it is thus

14     “reasonable to assume” that NLVPD’s policies caused the constitutional violations in this case.

15            This is insufficient at summary judgment. First, Anthony does not offer evidence that the

16     two police departments train at the same academy. Moreover, Anthony’s unsupported

17     assumption cannot raise a genuine issue of fact. The fact that Henderson changed its policies

18     does nothing to show whether NLVPD had the same policies or whether those policies were

19     constitutionally deficient. Moreover, Anthony does not identify what policy is at issue, much less

20     point to evidence raising a genuine dispute that the policy both existed and was the moving force

21     behind the violations. He has identified only this incident as evidence of inadequate training, but

22     a single incident generally does not suffice to show a widespread deficient training program. He

23     presents no evidence on what training the officers received or how that training was deficient.

24     Consequently, he has not presented evidence raising a genuine issue on the Monell claim, and I

25     therefore grant the NLVPD’s motion for summary judgment on this claim.

26     IV. STATE LAW CLAIMS

27            A. Discretionary Immunity

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                                                  Page 15 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 16 of 20




 1              To receive discretionary immunity under Nevada Revised Statutes § 41.032(2), a public

 2     employee’s decision “must (1) involve an element of individual judgment or choice and (2) be

 3     based on considerations of social, economic, or political policy.” Martinez v. Maruszczak, 168

 4     P.3d 720, 729 (2007) (en banc). The Supreme Court of Nevada looks to federal decisional law on

 5     the Federal Tort Claims Act for guidance on what type of conduct discretionary immunity

 6     protects. Id. at 727-28.

 7              The United States Court of Appeals for the Ninth Circuit and other circuits have held that

 8     “decisions relating to the hiring, training, and supervision of employees usually involve policy

 9     judgments of the type Congress intended the discretionary function exception to shield.” Vickers

10     v. United States, 228 F.3d 944, 950 (9th Cir. 2000) (citing cases). Thus, the NLVPD defendants

11     are entitled to discretionary immunity on Anthony’s negligent training and supervision claim in

12     count twenty-two. I therefore grant the NLVPD defendants’ motion as to that claim.

13              However, “[d]ecisions regarding the amount of force to use are not the kind of policy

14     decisions the discretionary-function exception was designed to shield.” Vasquez-Brenes v. Las

15     Vegas Metro. Police Dep’t, 51 F. Supp. 3d 999, 1013 (D. Nev. 2014). Further, acts taken in

16     violation of the Constitution or in bad faith are not discretionary. Mirmehdi v. United States, 689

17     F.3d 975, 984 (9th Cir. 2011); Nurse v. United States, 226 F.3d 996, 1002 (9th Cir. 2000); Falline

18     v. GNLV Corp., 823 P.2d 888, 892 n.3 (Nev. 1991). For example, “where an officer arrests a

19     citizen in an abusive manner not as the result of the exercise of poor judgment as to the force

20     required to make an arrest, but instead because of hostility toward a suspect or a particular class

21     of suspects (such as members of racial minority groups) or because of a willful or deliberate

22     disregard for the rights of a particular citizen or citizens, the officer’s actions are the result of bad

23     faith and he is not immune from suit.” Davis v. City of Las Vegas, 478 F.3d 1048, 1060 (9th Cir.

24     2007).

25              Genuine disputes remain about the constitutionality of the NLVPD’s actions. Moreover,

26     viewing the facts in the light most favorable to Anthony, a reasonable jury could find the officers

27     acted in bad faith with a motive to retaliate against Anthony for photographing them and making

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                                                    Page 16 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 17 of 20




 1     a rude gesture at them. According to Anthony, one of the officers specifically mentioned the fact

 2     that Anthony made a rude gesture to them. See Velazquez v. City of Long Beach, 793 F.3d 1010,

 3     1022 (9th Cir. 2015) (stating officers cannot rely on the “offense of ‘contempt of cop,’ in which

 4     officers charge resisting arrest or failure to obey or other minimal procedural offenses simply to

 5     punish or exact retribution on disrespectful or non-submissive individuals”). The NLVPD

 6     defendants therefore have not shown they are entitled to discretionary immunity on the other state

 7     law claims.

 8            B. Assault and Battery

 9            Counts thirteen and fourteen allege assault and battery. Count fifteen alleges false arrest

10     and imprisonment.

11            “Under Nevada law, a police officer is privileged to use the amount of force reasonably

12     necessary.” Vasquez-Brenes, 51 F. Supp. 3d at 1014. However, “[a]n officer who uses more force

13     than is reasonably necessary is liable for battery.” Id.; see also Ramirez v. City of Reno, 925 F.

14     Supp. 681, 691 (D. Nev. 1996) (applying Nevada law). Thus, the standard for assault and battery

15     by a police officer under Nevada law is the same as under a § 1983 claim. Vasquez-Brenes, 51 F.

16     Supp. 3d at 1014; Ramirez, 925 F. Supp. at 691. Because genuine disputes remain about whether

17     the NLVPD defendants used reasonable force, I deny the NLVPD defendants’ motion for

18     summary judgment on these claims.

19            C. False Arrest and Imprisonment

20            “To establish false imprisonment of which false arrest is an integral part, it is . . .

21     necessary to prove that the [plaintiff was] restrained of his liberty under the probable imminence

22     of force without any legal cause or justification.” Garton v. City of Reno, 720 P.2d 1227, 1228

23     (Nev. 1986) (quotation omitted). Probable cause may provide legal justification for an arrest to

24     defeat claims of false arrest and false imprisonment. Hernandez v. City of Reno, 634 P.2d 668,

25     671 (Nev. 1981). However, as discussed above, a genuine dispute remains about whether the

26     officers had probable cause to arrest Anthony. I therefore deny the NLVPD defendants’ summary

27     judgment motion as to this claim.

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                                                   Page 17 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 18 of 20




 1            D. Intentional Infliction of Emotional Distress

 2            Count sixteen alleges intentional infliction of emotional distress (IIED). Under Nevada

 3     law, IIED requires three elements: “(1) extreme and outrageous conduct with either the intention

 4     of, or reckless disregard for, causing emotional distress, (2) the plaintiff’s having suffered severe

 5     or extreme emotional distress and (3) actual or proximate causation.” Olivero v. Lowe, 995 P.2d

 6     1023, 1025 (Nev. 2000).

 7            The NLVPD defendants move for summary judgment on this claim on the basis that their

 8     conduct does not rise to the level of extreme and outrageous conduct. Outrageous conduct is

 9     behavior that goes “outside all possible bounds of decency and is regarded as utterly intolerable in

10     a civilized community.” Maduike v. Agency Rent-A-Car, 953 P.2d 24, 26 (Nev. 1998) (quotation

11     omitted). The Supreme Court of Nevada has referred to the Restatement (Second) of Torts § 46

12     as relevant authority for IIED claims under Nevada law. See, e.g., Olivero, 995 P.2d at 1027;

13     Selsnick v. Horton, 620 P.2d 1256, 1257 (Nev. 1980). A police officer’s conduct may rise to the

14     level of extreme and outrageous when he engages in an “extreme abuse” of his position.

15     Restatement (Second) of Torts § 46, cmts. The comments to the Restatement offer examples of

16     when a police officer’s conduct may be so outrageous as to support an IIED claim, such as where

17     the officer attempts to extort money by a threat of arrest or attempts to extort a confession by

18     falsely telling the accused her child has been injured in an accident and she cannot go to the

19     hospital until she confesses. “The Court determines whether the defendant’s conduct may be

20     regarded as extreme and outrageous so as to permit recovery, but, where reasonable people may

21     differ, the jury determines whether the conduct was extreme and outrageous enough to result in

22     liability.” Chehade Refai v. Lazaro, 614 F. Supp. 2d 1103, 1121 (D. Nev. 2009).

23            Viewing the facts in the light most favorable to Anthony, reasonable people could differ

24     as to whether the officers’ conduct rises to the level of extreme and outrageous. Taking

25     Anthony’s version of the facts as true, the officers aimed loaded weapons at him when he was

26     unarmed and posed no immediate threat, forcibly entered his home without a warrant and without

27     an emergency or exigency supporting the entry, shot him with pepperballs when he posed no

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                                                   Page 18 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 19 of 20




 1     immediate threat to the officers, forcefully dropped a knee into his back to handcuff him even

 2     though he was not resisting, and shoved his face into a stucco wall at a time when he was

 3     restrained and not resisting. Additionally, a reasonable jury could find the officers acted with the

 4     intent to punish Anthony because he was photographing them and made a rude hand gesture at

 5     them. I cannot say as a matter of law that this conduct does not rise to the level of an extreme

 6     abuse of police power. I therefore deny the NLVPD defendants’ motion for summary judgment

 7     on this claim.

 8            E. Civil Conspiracy

 9            Count eighteen alleges civil conspiracy. Under Nevada law, a civil conspiracy “consists

10     of a combination of two or more persons who, by some concerted action, intend to accomplish an

11     unlawful objective for the purpose of harming another, and damage results from the act or acts.”

12     Consol. Generator-Nevada, Inc. v. Cummins Engine Co., 971 P.2d 1251, 1256 (Nev. 1998)

13     (quotation omitted). Thus, to establish a civil conspiracy claim, a plaintiff must show: (1) the

14     commission of an underlying tort; (2) an agreement between the defendants to commit that tort;

15     and (3) resulting damages. Jordan v. State ex rel. Dep’t of Motor Vehicles & Pub. Safety, 110

16     P.3d 30, 51 (Nev. 2005), overruled on other grounds by Buzz Stew, LLC v. City of N. Las Vegas,

17     181 P.3d 670, 672 n.6 (Nev. 2008). The agreement may be shown through direct or

18     circumstantial evidence. Guilfoyle v. Olde Monmouth Stock Transfer Co., 335 P.3d 190, 199

19     (Nev. 2014) (en banc).

20            Genuine disputes remain about whether the NLVPD defendants committed underlying

21     torts. Additionally, there is a genuine dispute about whether the officers reached an agreement to

22     commit those torts. Cawthorn stated the officers developed a plan to ask Anthony to leave and to

23     arrest him if he refused to do so. Thus, there is evidence the officers agreed on some plan related

24     to Anthony’s treatment. They approached the house together and acted in coordinated fashion.

25     The circumstantial evidence of the warrantless, non-exigent entry into the home; the near

26     immediate use of force; followed by the shoving of Anthony’s face into the stucco after he was

27     compliant; and an officer specifically referring to Anthony making a rude gesture at the officers

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                                                  Page 19 of 20
     Case 2:13-cv-01154-APG-CWH Document 135 Filed 07/03/17 Page 20 of 20




 1     only to be shushed by his fellow officer could lead a reasonable jury to conclude that the

 2     defendants developed a plan to punish Anthony for a perceived lack of the appropriate level of

 3     respect and submissiveness to police officers. I therefore deny the NLVPD defendants’ motion

 4     for summary judgment on this claim.

 5     V. CONCLUSION

 6            IT IS THEREFORE ORDERED that the defendants’ motion for summary judgment

 7     (ECF No. 111) is GRANTED in part and DENIED in part. The NLVPD defendants are

 8     entitled to summary judgment on plaintiff Anthony Mitchell’s claims for Monell liability in count

 9     ten and negligent hiring, retention, and supervision in count twenty-two of the First Amended

10     Complaint. The motion is denied in all other respects.

11            IT IS FURTHER ORDERED that the parties shall meet and confer, and on or before July

12     28, 2017, shall file a joint status report on the following: (1) whether the First Amendment

13     retaliation claim in count one remains pending on behalf of Anthony Mitchell against the NLVPD

14     defendants; (2) whether the Eighth Amendment deliberate indifference claim in count eight

15     remains pending on behalf of Anthony Mitchell against the NLVPD defendants; and (3) whether

16     any claim remains pending on behalf of Michael or Linda Mitchell against the NLVPD

17     defendants.

18            DATED this 3rd day of July, 2017.

19                                                          ANDREW P. GORDON
                                                            UNITED STATES DISTRICT JUDGE
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                                                 Page 20 of 20
